
667 S.E.2d 278 (2008)
STATE of North Carolina
v.
Anthony Eugene WARE.
No. 129P08.
Supreme Court of North Carolina.
August 26, 2008.
Jayne Stowers, for Ware.
David Adinolfi, II, Assistant Attorney General, Stuart Albright, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 656 S.E.2d 662.

ORDER
Upon consideration of the petition filed on the 25th day of March 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
